        Case 1:22-cv-10652-WGY Document 15-1 Filed 10/07/22 Page 1 of 6




                             UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


MARIO PILLCO MOROCHO, et al.,
Plaintiffs
                                                             Civil Action No:
V.                                                           1:22-10652-WGY


BRISTOL COUNTY SHERIFF’S OFFICE, et al.,
Defendants.


    REPLY MEMORANDUM OF DEFENDANTS BRISTOL COUNTY SHERIFF’S
OFFICE, SHERIFF THOMAS HODGSON AND SUPERINTENDENT STEVEN SOUZA,
   in their official and individual capacities, IN SUPPORT OF THEIR MOTION TO
                                         DISMISS


INTRODUCTION
        In their opposition, the Plaintiffs assert two main avenues of alleged wrongdoing on behalf

of Sheriff Hodgson and Superintendent Souza. Firstly, they contend that the named defendants

acted deliberately indifferent in not releasing them from custody and shielding them from the

potential harm of COVID-19. Secondly, that excessive force was used to quell the riot in the ICE

B dormitory started by ICE detainees who refused to be tested for COVID-19 after complaining

of symptoms. The Plaintiffs have opposed the Defendant’s assertion of the defense of qualified

immunity primarily on the basis that the defendants were “on notice” of unconstitutional conduct

regarding COVID protections when this court allowed a preliminary injunction after finding that

the Plaintiff’s representing a class of all ICE detainees were likely to succeed on the merits. That

case was resolved by settlement and no adjudication of deliberate difference was ever entered

against the named defendants in that case.

                                                 1
         Case 1:22-cv-10652-WGY Document 15-1 Filed 10/07/22 Page 2 of 6




         In December of 2020, acting on a complaint alleging deliberate indifference at all of the

Commonwealths 13 Sheriff’s Departments relative to COVID protection, the Supreme Judicial

Court appointed a retired superior court judge as a master to find facts and report back to the SJC.

Based on the facts found by the master, which included information from each Sheriff’s

Department, expert reports from both sides and information from the Mass. Department of Public

Health, the Court looked at all counties’ response to COVID-19, including Bristol, and decided

that although each counties responses have not been uniform, it found “beyond dispute” that no

Sheriff’s Department had been guilty of deliberate indifference. Committee for Public Counsel

Services v. Barnstable County Sheriff’s Office, et al., 488 Mass 460, 477 (2021). In that considered

decision the SJC specifically found that a “failure to conduct routine, screening testing of

incarcerated people or staff” or the failure to reduce their incarcerated populations did not establish

deliberate indifference. Id. at 475-477. The Court stated in pertinent part:

 As all parties acknowledge, the CDC guidelines are mere recommendations, not mandates. It is well established
that while such professional guidelines “may be instructive in certain cases, they simply do not establish the
constitutional minima.” Bell v. Wolfish, 441 U.S. 520, 543 n.27, 99 S.Ct. 1861, 60 L.Ed.2d 447 (1979).
See Foster, 484 Mass. at 722, 146 N.E.3d 372 (“While compliance with professional guidance is not enough, on
its own, to establish constitutionality [or a lack thereof], ... such compliance does provide useful indications to be
considered in conjunction with other factors ...”).
Here, the record reflects that the defendants consulted with the department's epidemiologists in an attempt to
implement a testing strategy in conformity with CDC guidelines. It is undisputed that the strategy ultimately
adopted did not include regular screening testing of asymptomatic individuals. However, it also is undisputed that
the department did not specifically recommend the adoption of such regular screening testing. Instead, after
consultation with the department's epidemiologists, each of the defendants adopted some combination of
symptom screening, testing, or quarantining at intake; testing of symptomatic individuals and close contacts; and
isolation of infected individuals. Certain houses of correction also conducted broader testing of asymptomatic
individuals when advised to do so by department epidemiologists in response to an uptick in positive case.
 In addition to implementing these strategies for screening, testing, isolation, and quarantine, the houses of
correction adopted enhanced hygiene practices, implemented strategies to minimize in-person contact, and -- in
perhaps the most significant development -- began offering a highly effective vaccine to all inmates and staff.19
6Although one can dispute whether the defendants’ testing strategies with regard to the COVID-19 pandemic are
in full compliance with current CDC recommendations regarding screening testing, we conclude that it is beyond
dispute on the record before us that the plaintiffs have failed to establish deliberate indifference on the part of the
defendants with respect to their efforts to mitigate risks and control the spread of COVID-19 in the houses of
correction. Moreover, given the apparent success of the defendants’ efforts -- with weekly new cases falling as of
the time this case was argued and no deaths reported since June 2020 -- it was not unreasonable for the
defendants to decline to accelerate their testing efforts to the highest levels recommended by the CDC.
See Valentine v. Collier, 993 F.3d 270, 283 (5th Cir. 2021) (“We conclude that it was not unreasonable for
Defendants to rely on the healthcare experts who were legally delegated the responsibility of crafting a COVID-

                                                          2
            Case 1:22-cv-10652-WGY Document 15-1 Filed 10/07/22 Page 3 of 6



19 response policy, and, in any event, the policy was a reasonable response because it set forth safety measures in
accordance with the CDC guidelines”); Wilson v. Williams, 961 F.3d 829, 841 (6th Cir. 2020) (prison officials
not deliberately indifferent to risks of COVID-19 where their response included “screening for symptoms,
educating staff and inmates about COVID-19, cancelling visitation, quarantining new inmates, implementing
regular cleaning, providing disinfectant supplies, and providing masks” and they were “on the cusp of expanding
testing”); Swain v. Junior, 958 F.3d 1081, 1090 (11th Cir. 2020) (plaintiffs unlikely to succeed in establishing
deliberate indifference where defendants adopted “extensive safety measures” in response to COVID-19
pandemic “such as increasing screening, providing protective equipment, adopting social distancing when
possible, quarantining symptomatic inmates, and enhancing cleaning procedures”). Therefore, the plaintiffs
have failed to establish an entitlement to relief under the Eighth Amendment or art. 26 with respect to the
defendants’ mitigation strategies with regard to the COVID-19 pandemic, which include as one component their
strategies for testing for COVID-19. Id.at 476-477.

Argument

        Based on the SJC’s final adjudication that Bristol County was not deliberately
indifferent to incarcerated persons regarding COVID protection, qualified immunity is
warranted.

       Massachusetts and Federal Courts apply the doctrine of collateral estoppel as described in
the Restatement (Second) of Judgments (1982).In re: Sonnus Networks, Inc., 499 F.3d 47, 57 (1st
Cir. 2007). That Court outlined the three elements for estoppel to apply:


 (1) there was a final judgment on the merits in the prior adjudication; (2) the party against (1) there was a final
judgment on the merits in the prior adjudication; (2) the party against whom preclusion is asserted was a party (or in
privity with a party) to the prior adjudication; and (3) the issue in the prior adjudication was identical to the issue in
the current adjudication. Additionally the issue decided in the prior adjudication must have been essential to the earlier
judgment. Id at 57


Here, the issues before the SJC regarding COVID prevention and deliberate indifference are

identical. The parties were in privity as the SJC reviewed the COVID precautions in each Sheriff’s

Department, including Bristol County. Accordingly, given the SJC finding that “without dispute”

no Sheriff’s Office was deliberately indifferent in that each followed the recommendations of the

Department of Public Health and their own infectious disease expert, the defendants as a matter of

law are entitled to qualified immunity.1




1
    It is not insignificant to note that no Plaintiff has plead that they suffered harm from COVID.

                                                             3
          Case 1:22-cv-10652-WGY Document 15-1 Filed 10/07/22 Page 4 of 6




The Defendants are entitled to qualified immunity relative to their response in a riot
situation.


         On May 1, 2020, after certain ICE detainees were released by the U.S. District Court and

others were denied release, ten detainees, in a group all complained of “COVID-like symptoms.”

Those detainees pursuant to COVID protocols were then ordered to be removed from the unit and

either be tested and/or be isolated which they uniformly refused. Given the CDC guidance, that

exposure to positive cases for thirty minutes or more could cause asymptomatic persons to contract

the disease, time was of the essence to protect the rest of the dormitory unit. When the detainees

refused, the Sheriff went to the unit explaining that when each symptomatic detainee’s name was

called, they had to go to be tested and/or isolated. When Detainee Battistotti’s name was called he

refused to go and instead went to make a telephone call. When the Sheriff walked over to him and

ordered him to put down the phone and go to be tested, the riot began with a chair being thrown at

the Sheriff and the detainees converging on him and the other officers. The riot was quelled in

about 90 seconds by Special Response Team but not after $25,000 of damage was done to the unit.

         In reviewing claims for deliberate indifference during riot situations, great deference must

be given to law enforcement. The United States Supreme Court has clearly stated:

When the “ever-present potential for violent confrontation and conflagration,” Jones v. North Carolina Prisoners'
Labor Union, Inc., 433 U.S. 119, 132, 97 S.Ct. 2532, 2541, 53 L.Ed.2d 629 (1977), ripens into actual unrest and
conflict, the admonition that “a prison's internal security is peculiarly a matter normally left to the discretion of prison
administrators,” Rhodes v. Chapman, supra, 452 U.S., at 349, n. 14, 101 S.Ct., at 2400, n. 14, carries special weight.
“Prison administrators ... should be accorded wide-ranging deference in the adoption and execution of policies and
practices that in their judgment are needed to preserve internal order and discipline and to maintain institutional
security.” Bell v. Wolfish, 441 U.S., at 547, 99 S.Ct., at 1878. That deference extends to a prison security measure
taken in response to an actual confrontation with riotous inmates, just as it does to prophylactic or preventive measures
intended to reduce the incidence of these or any other breaches of prison discipline. It does not insulate from review
actions taken in bad faith and for no legitimate purpose, but it requires that neither judge nor jury freely substitute
their judgment for that of officials who have made a considered choice. Accordingly, in ruling on a motion for a
directed verdict in a case such as this, courts must determine whether the evidence goes beyond a mere dispute over
the reasonableness of a particular use of force or the existence of arguably superior alternatives. Unless it appears that
the evidence, viewed in the light most favorable to the plaintiff, will support a reliable inference of wantonness in the
infliction of pain under the standard we have described, the case should not go to the jury. Whitley v. Albers, 475 U.S.
312, 321-322 (1986).

                                                             4
        Case 1:22-cv-10652-WGY Document 15-1 Filed 10/07/22 Page 5 of 6




In the case at bar, taking into account the urgency not only of quelling a riot but also working

against time to isolate potential carriers of COVID from other detainees, no reasonable inference

of wantonness in the infliction of pain can be made and qualified immunity is required.

       Conclusion

For the above stated reasons Defendants Hodgson and Souza are entitled to qualified immunity.

                                                     Respectfully submitted,
                                                     Defendants Bristol County Sheriff’s Office
                                                     Sheriff Thomas Hodgson and
                                                     Superintendent Steven Souza
                                                     By their attorney,


                                                      /s/ Bruce A. Assad
                                                     Bruce A. Assad, Esq., BBO # 0221980
                                                     Special Assistant Attorney General
                                                     Bristol County Sheriff’s Office
                                                     400 Faunce Corner Road
                                                     Dartmouth, MA 02747
                                                     (508) 995-1311




                                    CERTIFICATE OF SERVICE


        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF).
Dated: October 7, 2022
                                                             /s/ Bruce A. Assad
                                                             Bruce A. Assad, Esq.




                                                 5
Case 1:22-cv-10652-WGY Document 15-1 Filed 10/07/22 Page 6 of 6




                               6
